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     Yong Bom (Brian) Lee (SBN 213860)
 1   Hyong C. Kim (SBN 231034)
 2   LEE & ASSOCIATES, LAW OFFICE, APC
     3530 Wilshire Blvd., Suite 1280
 3   Los Angeles, California 90010
     Tel. No. (213) 368-7717
 4   Fax No. (213) 368-7718
 5   E-Mail: wilshirefirm@yahoo.com

 6   Attorneys for Defendant & Cross-Complainant,
     LA CASH & CARRY, INC.,
 7   a California Corporation
                             UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9
     INDIO PRODUCTS, INC., a California     CASE NO.: 2:21-cv-06805-JAK-(JCx)
10
     corporation,
11                                          ANSWER OF DEFENDANT LA
                      Plaintiff,            CASH & CARRY, INC. TO INDIO
12
                                            PRODUCTS, INC.’S COMPLAINT
13         vs.
                                            DEMAND FOR JURY TRIAL
14
     LA CASH & CARRY, INC., a
15   California corporation,          Judge: Hon. John A. Kronstadt
                                      Courtroom: First Street Courthouse,
16
                 Defendant.           350 W. First Street, Courtroom 10B,
17   ________________________________ Los Angeles, CA 90012
18
     LA CASH & CARRY, INC., a               Mag. Judge: Jacqueline Chooljian
19   California corporation,                (Roybal Federal Building and United
                                            States Courthouse – 255 E. Temple St.,
20
                 Cross-Complainant.         Los Angeles, CA 90012, 7th Fl,
21                                          Courtroom 750)
22          vs.
                                            Complaint Filed: August 23, 2021
23   ILUMEX INC., a Texas corporation,      Trial Date:
24
                  Cross-Defendant.          Date:
25                                          Time:
26                                          Dept.:

27   ///
     ///
28   ///

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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1                ANSWER OF LA CASH & CARRY, INC. (JURY DEMAND)

 2           COME NOW Defendant LA CASH & CARRY, INC., a California Corporation,
 3   (“Defendant”) and on behalf of itself and no other defendants, submits this answer to
 4   the Complaint of INDIO PRODUCTS, INC. (“Plaintiff”) as follows:
 5                                      NATURE OF THE ACTION
 6           1.     Defendant admits the allegations in paragraph 1 of the Complaint.
 7
             2.     Defendant lacks knowledge or information sufficient to form a belief as to
 8
 9   the truth of the allegations of paragraph 2 of the Complaint and accordingly denies the
10
     same.
11
             3.     Defendant lacks knowledge or information sufficient to form a belief as to
12
13   the truth of the allegations of paragraph 3 of the Complaint and accordingly denies the
14
     same.
15
             4.     Defendant lacks knowledge or information sufficient to form a belief as to
16
17   the truth of the allegations of paragraph 4 of the Complaint and accordingly denies the
18
     same.
19
             5.     Defendant lacks knowledge or information sufficient to form a belief as to
20
21   the truth of the allegations of paragraph 5 of the Complaint and accordingly denies the
22
     same.
23
24                                        THE PARTIES

25           6.     Defendant lacks knowledge or information sufficient to form a belief as to
26
     the truth of the allegations of paragraph 6 of the Complaint and accordingly denies the
27
28   same.

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30                ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         7.      Defendant admits the allegations in paragraph 7 of the Complaint.

 2
                                JURISDICTION AND VENUE
 3
           8.      Defendant admits the allegations in paragraph 8 of the Complaint.
 4
 5         9.      Defendant admits the allegations in paragraph 9 of the Complaint.

 6         10.     Defendant admits the allegations in paragraph 10 of the Complaint.
 7
           11.     With respect to paragraph 11 of the Complaint, Defendant admits only
 8
 9   that this Court has personal jurisdiction over Defendant. Defendant denies each and

10   every remaining allegation of paragraph 11 of the Complaint.
11
           12.     Defendant admits the allegations in paragraph 12 of the Complaint.
12
13                         FACTS RELEVANT TO ALL COUNTS
14         13.     Defendant lacks knowledge or information sufficient to form a belief as to
15
     the truth of the allegations of paragraph 13 of the Complaint and accordingly denies
16
17   the same.
18         14.     Defendant lacks knowledge or information sufficient to form a belief as to
19
     the truth of the allegations of paragraph 14 of the Complaint and accordingly denies
20
21   the same.
22         15.     Defendant lacks knowledge or information sufficient to form a belief as to
23
     the truth of the allegations of paragraph 15 of the Complaint and accordingly denies
24
25   the same.
26
27
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                                                 3
30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         16.     Defendant lacks knowledge or information sufficient to form a belief as to

 2   the truth of the allegations of paragraph 16 of the Complaint and accordingly denies
 3
     the same.
 4
 5         17.     Defendant lacks knowledge or information sufficient to form a belief as to

 6   the truth of the allegations of paragraph 17 of the Complaint and accordingly denies
 7
     the same.
 8
 9         18.     Defendant lacks knowledge or information sufficient to form a belief as to

10   the truth of the allegations of paragraph 18 of the Complaint and accordingly denies
11
     the same.
12
13         19.     Defendant lacks knowledge or information sufficient to form a belief as to

14   the truth of the allegations of paragraph 19 of the Complaint and accordingly denies
15
     the same.
16
17         20.     Defendant denies the allegations in paragraph 20 of the Complaint.

18         21.     Defendant denies the allegations in paragraph 21 of the Complaint.
19
           22.     With respect to paragraph 22 of the Complaint, Defendant admits only
20
21   that Defendant operates a store at the address stated in the Complaint. Defendant
22   denies each and every remaining allegation of paragraph 22 of the Complaint.
23
           23.     Defendant denies the allegations in paragraph 23 of the Complaint.
24
25         24.     Defendant denies the allegations in paragraph 24 of the Complaint.
26
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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         25.     Defendant lacks knowledge or information sufficient to form a belief as to

 2   the truth of the allegations of paragraph 25 of the Complaint and accordingly denies
 3
     the same.
 4
 5         26.     Defendant lacks knowledge or information sufficient to form a belief as to

 6   the truth of the allegations of paragraph 26 of the Complaint and accordingly denies
 7
     the same.
 8
 9         27.     Defendant denies the allegations in paragraph 27 of the Complaint.

10
                                               COUNT I
11
12          (COPYRIGHT INFRINGEMENT – 17 U.S.C. §§ 101 et seq and 501)

13         28.     Defendant repeats, re-alleges and incorporate by reference in this
14   paragraph its responses to the previous allegations in preceding paragraphs of the
15
     Complaint as if fully set forth herein.
16
17         29.     Defendant denies each and every allegation contained in the paragraph 29.
18         30.     Defendant denies each and every allegation contained in the paragraph 30.
19
           31.     Defendant denies each and every allegation contained in the paragraph 31.
20
21         32.     Defendant denies each and every allegation contained in the paragraph 32.
22         33.     Defendant denies each and every allegation contained in the paragraph 33.
23
           34.     Defendant denies each and every allegation contained in the paragraph 34.
24
25         35.     Defendant denies each and every allegation contained in the paragraph 35.
26         36.     Defendant denies each and every allegation contained in the paragraph 36.
27
           37.     Defendant denies each and every allegation contained in the paragraph 37.
28
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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1       38.     Defendant denies each and every allegation contained in the paragraph 38.

 2       39.     Defendant denies each and every allegation contained in the paragraph 39.
 3
         40.     Defendant denies each and every allegation contained in the paragraph 40.
 4
 5       41.     Defendant denies each and every allegation contained in the paragraph 41.

 6       42.     Defendant denies each and every allegation contained in the paragraph 42.
 7
         43.     Defendant denies each and every allegation contained in the paragraph 43.
 8
 9       44.     Defendant denies each and every allegation contained in the paragraph 44.

10       45.     Defendant denies each and every allegation contained in the paragraph 45.
11
         46.     Defendant denies each and every allegation contained in the paragraph 46.
12
13       47.     Defendant denies each and every allegation contained in the paragraph 47.

14       48.     Defendant denies each and every allegation contained in the paragraph 48.
15
         49.     Defendant denies each and every allegation contained in the paragraph 49.
16
17       50.     Defendant denies each and every allegation contained in the paragraph 50.

18       51.     Defendant denies each and every allegation contained in the paragraph 51.
19
         52.     Defendant denies each and every allegation contained in the paragraph 52.
20
21       53.     Defendant denies each and every allegation contained in the paragraph 53.
22       54.     Defendant denies each and every allegation contained in the paragraph 54.
23
         55.     Defendant denies each and every allegation contained in the paragraph 55.
24
25       56.     Defendant denies each and every allegation contained in the paragraph 56.
26       57.     Defendant denies each and every allegation contained in the paragraph 57.
27
         58.     Defendant denies each and every allegation contained in the paragraph 58.
28
29
                                              6
30             ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         59.     Defendant denies each and every allegation contained in the paragraph 59.

 2         60.     Defendant denies each and every allegation contained in the paragraph 60.
 3
           61.     Defendant denies each and every allegation contained in the paragraph 61.
 4
 5         62.     Defendant denies each and every allegation contained in the paragraph 62.

 6         63.     Defendant denies each and every allegation contained in the paragraph 63.
 7
           64.     Defendant denies each and every allegation contained in the paragraph 64.
 8
 9         65.     Defendant denies each and every allegation contained in the paragraph 65.

10
                                               COUNT II
11
12               (TRADEMARK INFRINGEMENT – 15 U.S.C. §§ 1114, 1125)

13         66.     Defendant repeats, re-alleges and incorporate by reference in this
14   paragraph its responses to the previous allegations in preceding paragraphs of the
15
     Complaint as if fully set forth herein.
16
17         67.     Defendant denies each and every allegation contained in the paragraph 67.
18         68.     Defendant denies each and every allegation contained in the paragraph 68.
19
           69.     Defendant denies each and every allegation contained in the paragraph 69.
20
21         70.     Defendant denies each and every allegation contained in the paragraph 70.
22         71.     Defendant denies each and every allegation contained in the paragraph 71.
23
           72.     Defendant denies each and every allegation contained in the paragraph 72.
24
25         73.     Defendant denies each and every allegation contained in the paragraph 73.
26         74.     Defendant denies each and every allegation contained in the paragraph 74.
27
           75.     Defendant denies each and every allegation contained in the paragraph 75.
28
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                                                  7
30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         76.     Defendant denies each and every allegation contained in the paragraph 76.

 2         77.     Defendant denies each and every allegation contained in the paragraph 77.
 3
           78.     Defendant denies each and every allegation contained in the paragraph 78.
 4
 5         79.     Defendant denies each and every allegation contained in the paragraph 79

 6
                                               COUNT III
 7
 8   (UNFAIR COMPETITION & INFRINGEMENT UNDER LANHAM ACT § 43 –

 9                                       15 U.S.C. § 1125)

10         80.     Defendant repeats, re-alleges and incorporate by reference in this
11   paragraph its responses to the previous allegations in preceding paragraphs of the
12
     Complaint as if fully set forth herein.
13
14         81.     Defendant lacks knowledge or information sufficient to form a belief as to
15   the truth of the allegations of paragraph 81 of the Complaint and accordingly denies
16
     the same.
17
18         82.     Defendant denies each and every allegation contained in the paragraph 82.
19         83.     Defendant denies each and every allegation contained in the paragraph 83.
20
           84.     Defendant denies each and every allegation contained in the paragraph 84.
21
22         85.     Defendant denies each and every allegation contained in the paragraph 85.
23         86.     Defendant denies each and every allegation contained in the paragraph 86.
24
25                                             COUNT IV
26          (CALIFORNIA BUSINESS & PROFESSION CODE § 17200 et seq.)
27
28
29
                                                   8
30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1         87.     Defendant repeats, re-alleges and incorporate by reference in this

 2   paragraph its responses to the previous allegations in preceding paragraphs of the
 3
     Complaint as if fully set forth herein.
 4
 5         88.     Defendant denies each and every allegation contained in the paragraph 88.

 6         89.     Defendant denies each and every allegation contained in the paragraph 89.
 7
           90.     Defendant denies each and every allegation contained in the paragraph 90.
 8
 9         91.     Defendant denies each and every allegation contained in the paragraph 91.

10
                                               COUNT V
11
        (COMMON LAW TRADEMARK INFRINGEMENT – California Common
12
13                                               Law)
14         92.     Defendant repeats, re-alleges and incorporate by reference in this
15
     paragraph its responses to the previous allegations in preceding paragraphs of the
16
17   Complaint as if fully set forth herein.
18         93.     Defendant denies each and every allegation contained in the paragraph 93.
19
           94.     Defendant denies each and every allegation contained in the paragraph 94.
20
21         95.     Defendant denies each and every allegation contained in the paragraph 95.
22
                                               COUNT VI
23
                    (UNFAIR COMPETITION - California Common Law)
24
25         96.     Defendant repeats, re-alleges and incorporate by reference in this
26   paragraph its responses to the previous allegations in preceding paragraphs of the
27
     Complaint as if fully set forth herein.
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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1          97.     Defendant denies each and every allegation contained in the paragraph 97.

 2          98.     Defendant denies each and every allegation contained in the paragraph 98.
 3
            99.     Defendant denies each and every allegation contained in the paragraph 99.
 4
 5          100. Defendant denies each and every allegation contained in the paragraph

 6   100.
 7
                                   AFFIRMATIVE DEFENSES
 8
 9                              FIRST AFFIRMATIVE DEFENSE
10          1.      As a first and separate affirmative defense, Defendant is informed and
11   believes, and on this basis asserts that Plaintiff has stated no claim upon which relief
12   can be granted.
13                            SECOND AFFIRMATIVE DEFENSE
14          2.      As a second and separate affirmative defense, Defendant is informed and
15   believes, and on this basis asserts that the Complaint is uncertain.
16                             THIRD AFFIRMATIVE DEFENSE
17          3.      As a third and separate affirmative defense, Defendant is informed and
18   believes, and on this basis asserts that Plaintiff is barred from obtaining any relief
19   sought in the Complaint by reason of their own unclean hands.
20                             FOURH AFFIRMATIVE DEFENSE
21          4.      As a forth and separate affirmative defense, Defendant is informed and
22   believes, and on this basis asserts that Plaintiffs’ claims are barred by the doctrine of
23   estoppel.
24
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30                ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1                             FIFTH AFFIRMATIVE DEFENSE
 2         5.      As a fifth and separate affirmative defense, if Plaintiff suffered or
 3   sustained any loss, injury, damage, or detriment, the same was directly and
 4   proximately caused and contributed to by the breach, conduct, acts, omissions,
 5   activities, carelessness, recklessness, negligence, and/or intentional misconduct of
 6   other third parties, or the Plaintiff itself, not by Answering Defendant.
 7                             SIXTH AFFIRMATIVE DEFENSE
 8         6.      As a sixth and separate affirmative defense, the copyrights Plaintiff
 9   asserts is invalid and void.
10                           SEVENTH AFFIRMATIVE DEFENSE
11         7.      As a seventh and separate affirmative defense, even if there is an
12   infringement, alleged copyright part is de minimus components of the garments as a
13   whole, and any recovery is subject to significant apportionment between the allegedly
14   infringing and the obvious non-infringing parts of the garments.
15                            EIGHTH AFFIRMATIVE DEFENSE
16         8.      As an eighth and separate affirmative defense, Defendant has not
17   intentionally infringed any copyrights allegedly owned by Plaintiff.
18                             NINTH AFFIRMATIVE DEFENSE
19         9.      As a ninth and separate affirmative defense, Defendant is informed and
20   believes, and on this basis asserts that the trademarks rights Plaintiff asserts are invalid
21   and void.
22                             TENTH AFFIRMATIVE DEFENSE
23         10.     As a tenth and separate affirmative defense, Defendant is informed and
24   believes, and on this basis asserts that Plaintiff has licensed alleged copyrights and/or
25   trademark rights, and Defendant has purchased products from licensee.
26
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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1                          ELEVENTH AFFIRMATIVE DEFENSE
 2         11.     As an eleventh and separate affirmative defense, Defendant is informed
 3   and believes, and on this basis asserts that Plaintiff has not obtained the proper rights
 4   in the subject copyrights and/or trademark rights from rightful owners and/or parties.
 5                          TWELVETH AFFIRMATIVE DEFENSE
 6         12.     As a twelveth and separate affirmative defense, Defendant is informed
 7   and believes, and on this basis asserts that Plaintiff’s alleged copyrights and/or
 8   trademark rights are invalid due to the fraud and misrepresentation in the contents of

 9   the Copyright Registration and/or trademark registrations of the Plaintiff.

10                                      PRAYER FOR RELIEF
                   WHEREFORE, Answering Defendant prays for judgment as follows:
11
           1.      That Plaintiff take nothing by the Complaint;
12
           2.      That the Court enter judgment declaring that Defendant has not infringed
13
     any of the copyrights of Plaintiff or otherwise;
14
           3.      That the Court enter judgment declaring that Plaintiff does not have any
15
     rights to enforce the subject copyrights;
16         4.      That the Court enter judgment declaring that Plaintiff’s copyright
17   registrations are not valid;
18         5.      That the Court enter judgment declaring that Plaintiff has committed fraud
19   and misrepresentation in applying for the copyright registration;
20         6.      That the Court enter judgment declaring that Defendant has not infringed
21   any of the trademark rights of Plaintiff or otherwise;
22         7.      That the Court enter judgment declaring that Plaintiff does not have any
23   rights to enforce the subject trademark rights;
24         8.      That the Court enter judgment declaring that Plaintiff’s trademark

25   registrations are not valid;
           9.      That the Court enter judgment declaring that Plaintiff has committed fraud
26
     and misrepresentation in applying for the trademark registration;
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30               ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1        10.     That the Court award costs, including reasonable attorney’s fees, to
 2   Answering Defendant; and
 3        11.     That the Court grant such further and other relief as to the Court seems
 4   just and proper.

 5                                          LEE & ASSOCIATES, LAW OFFICE, APC
 6
     Dated: October 12, 2021                By:        /s/ yong bom brian lee _
 7                                                     Yong Bom (Brian) Lee
 8                                                     Attorneys for Defendant
                                                       LA Cash & Carry, Inc.
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30              ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
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 1                              CERTIFICATE OF SERVICE
 2         I, Yong Bom Lee, an attorney, certify that on October 12, 2021, I served the
 3   above and foregoing document pursuant to Federal Rule of Civil Procedure 41(a)(1),
 4   by causing true and accurate copies of such paper to be filed and transmitted to the
 5   persons shown below via the Court’s CM/ECF electronic filing system, on this date.
 6
 7   By: /s/ yong bom lee

 8   Yong Bom Lee
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30             ANSWER OF LA CASH & CARRY TO INDIO PRODUCT’S COMPLAINT
